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UNITED STATES DISTRICT COURT
NORTHERN DIS'I`RICT OF TEXAS
DALLAS DIVISION
REBECCA FELDMAN,
PLAINTIFF, CASE NO. 3:18-cv-01416-S
v.
CORPORATION dib/a STRYKER
ORTH()PAEDICS; AAP
BIOMATERIALS GMBH; AAP

IMPLANTATE AG; and
AAP IMPLANTS, INC.,

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DEFENDANTS. )
ORDER DISMISSING AAP IMPLANTATE AG AND AAP IMPLANTS INC.
Upon consideration of Plaintiff Rebecca Feldman and Defendants aap Irnplantate AG and
aap Implants, lnc.’S Joint Stipulation 01° Dismissal of aap Implantate AG and aap lmplants, Inc.:
lt is hereby ORI)ERED that all claims in this matter by Plaintiff Rebecca Feldrnan against
Defendants aap Implantate AG and aap Implants, Inc., are hereby DISMISSED WITHOUT

PREJUDICE With each party to bear its own costs and attorney’S fees.

Dated this f 9 Mday of September, 2018.

afm

KAREN GREN SCHOLER
UNITED STATES DISTRICT JUDGE

 

 

